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      HIGHLIGHTS OF PRESCRIBING INFORMATION                                            -----------------------WARNINGS AND PRECAUTIONS-----------------------­
      These highlights do not include all the information needed to use                • Bone marrow suppression (particularly neutropenia) and its clinical
      JEVTANA safely and effectively. See full prescribing information for                consequences (febrile neutropenia, neutropenic infections, and death):
      JEVTANA.                                                                            Monitor blood counts frequently to determine if dosage modification or
      JEVTANA® (cabazitaxel) injection, for intravenous use                               initiation of G-CSF is needed. Primary prophylaxis with G-CSF is
      Initial U.S. Approval: 2010                                                         recommended in patients with high-risk clinical features. Closely monitor
                                                                                          patients with hemoglobin <10 g/dL. (2.2, 4, 5.1)
             WARNING: NEUTROPENIA AND HYPERSENSITIVITY                                 • Increased toxicities in elderly patients: Patients ≥65 years of age were
             See full prescribing information for complete boxed warning.                 more likely to experience fatal outcomes and certain adverse reactions,
         • Neutropenic deaths have been reported. Obtain frequent blood                   including neutropenia and febrile neutropenia. Monitor closely. (5.2, 8.5)
           counts to monitor for neutropenia. JEVTANA is contraindicated               • Hypersensitivity: Severe hypersensitivity reactions can occur.
           in patients with neutrophil counts of ≤1,500 cells/mm3. Primary                Premedicate with corticosteroids and H 2 antagonists. Discontinue infusion
           prophylaxis with G-CSF is recommended in patients with high-                   immediately if hypersensitivity is observed and treat as indicated. (4, 5.3)
           risk clinical features. (4, 5.1, 5.2)                                       • Gastrointestinal disorders: Nausea, vomiting, and diarrhea may occur.
         • Severe hypersensitivity can occur and may include generalized                  Mortality related to diarrhea has been reported. Rehydrate and treat with
           rash/erythema, hypotension and bronchospasm. Discontinue                       antiemetics and antidiarrheals as needed. If experiencing Grade ≥3
           JEVTANA immediately if severe reactions occur and administer                   diarrhea, dosage should be modified. (2.2) Deaths have occurred due to
           appropriate therapy. (2.1, 5.2)                                                gastrointestinal hemorrhage, perforation and neutropenic enterocolitis.
         • Contraindicated if history of severe hypersensitivity reactions to             Delay or discontinue JEVTANA and treat as indicated. (5.4)
           cabazitaxel or to drugs formulated with polysorbate 80. (4)                 • Renal failure, including cases with fatal outcomes, has been reported.
      ----------------------------RECENT MAJOR CHANGES------------------------­           Identify cause and manage aggressively. (5.5)
      Warnings and Precautions (5.9)                                   01/2020         • Urinary disorders including cystitis: Cystitis, radiation cystitis, and
                                                                                          hematuria may occur. Monitor patients who previously received pelvic
      ----------------------------INDICATIONS AND USAGE--------------------------­        radiation for signs and symptoms of cystitis. Interrupt or discontinue
      JEVTANA is a microtubule inhibitor indicated in combination with                    JEVTANA and provide medical or surgical supportive care, as needed, in
      prednisone for treatment of patients with metastatic castration-resistant           patients experiencing severe hemorrhagic cystitis.
      prostate cancer previously treated with a docetaxel-containing treatment         • Respiratory disorders: Interstitial pneumonia/pneumonitis, interstitial lung
      regimen. (1)                                                                        disease and acute respiratory distress syndrome, including fatal outcomes,
       ----------------------DOSAGE AND ADMINISTRATION----------------------­             have been reported. Delay or discontinue JEVTANA and treat as indicated.
      Recommended Dose: JEVTANA 20 mg/m2 administered every three weeks                   (5.7)
      as a one-hour intravenous infusion in combination with oral prednisone 10 mg     • Hepatic impairment: Administer JEVTANA at a dose of 20 mg/m2 in
      administered daily throughout JEVTANA treatment. (2.1)                              patients with mild hepatic impairment. Administer JEVTANA at a dose of
      A dose of 25 mg/m2 can be used in select patients at the discretion of the          15 mg/m2 in patients with moderate hepatic impairment. (2.3, 5.8)
      treating healthcare provider. (2.1, 5.1, 5.2, 6.1, 14)                           • Embryo-fetal toxicity: JEVTANA can cause fetal harm and loss of
      • JEVTANA requires two dilutions prior to administration. (2.5)                     pregnancy. Advise males with female partners of reproductive potential to
      • Use the entire contents of the accompanying diluent to achieve a                  use effective contraception. (5.9, 8.1, 8.3)
          concentration of 10 mg/mL JEVTANA. (2.5)                                     ------------------------------ADVERSE REACTIONS------------------------------­
      • PVC equipment should not be used. (2.5)                                        Most common all grades adverse reactions and laboratory abnormalities
      • Premedication Regimen: Administer intravenously 30 minutes before              (≥10%) with JEVTANA 20 mg/m² or 25 mg/m² are neutropenia, anemia,
        each dose of JEVTANA:                                                          leukopenia, thrombocytopenia, diarrhea, fatigue, nausea, vomiting,
        o Antihistamine (dexchlorpheniramine 5 mg or diphenhydramine 25 mg             constipation, asthenia, abdominal pain, hematuria, back pain, anorexia,
           or equivalent antihistamine)                                                peripheral neuropathy, pyrexia, dyspnea, dysgeusia, cough, arthralgia, and
        o Corticosteroid (dexamethasone 8 mg or equivalent steroid)                    alopecia. (6)
        o H 2 antagonist (ranitidine 50 mg or equivalent H 2 antagonist) (2.1)
                                                                                       To report SUSPECTED ADVERSE REACTIONS, contact sanofi-aventis
        Antiemetic prophylaxis (oral or intravenous) is recommended as needed.         U.S. LLC at 1-800-633-1610 or FDA at 1-800-FDA-1088 or
        (2.1)                                                                          www.fda.gov/medwatch.
      • Dosage Modifications: See full prescribing information (2.2, 2.3, 2.4)         ------------------------------DRUG INTERACTIONS------------------------------­
      ---------------------DOSAGE FORMS AND STRENGTHS---------------------­            Avoid coadministration of JEVTANA with strong CYP3A inhibitors. If
      • Single dose vial 60 mg/1.5 mL, supplied with diluent (5.7 mL) for              patients require coadministration of a strong CYP3A inhibitor, consider a 25%
         JEVTANA (3)                                                                   JEVTANA dose reduction. (2.4, 7.1, 12.3)
      -------------------------------CONTRAINDICATIONS-----------------------------­   See 17 for PATIENT COUNSELING INFORMATION and FDA-
      • Neutrophil counts of ≤1,500/mm3 (2.2, 4)                                       approved patient labeling.
      • History of severe hypersensitivity to JEVTANA or polysorbate 80 (4)                                                       Revised: 03/2020
      • Severe hepatic impairment (Total Bilirubin >3 × ULN) (4)

      FULL PRESCRIBING INFORMATION: CONTENTS*
      WARNING: NEUTROPENIA AND HYPERSENSITIVITY                                            5.8 Use in Patients with Hepatic Impairment
      1 INDICATIONS AND USAGE                                                              5.9 Embryo-Fetal Toxicity
      2 DOSAGE AND ADMINISTRATION                                                      6   ADVERSE REACTIONS
        2.1 Dosing Information                                                             6.1 Clinical Trials Experience
        2.2 Dose Modifications for Adverse Reactions                                       6.2 Postmarketing Experience
        2.3 Dose Modifications for Hepatic Impairment                                  7   DRUG INTERACTIONS
        2.4 Dose Modifications for Use with Strong CYP3A Inhibitors                        7.1 CYP3A Inhibitors
        2.5 Preparation and Administration                                             8   USE IN SPECIFIC POPULATIONS
      3 DOSAGE FORMS AND STRENGTHS                                                         8.1 Pregnancy
      4 CONTRAINDICATIONS                                                                  8.2 Lactation
      5 WARNINGS AND PRECAUTIONS                                                           8.3 Females and Males of Reproductive Potential
        5.1 Bone Marrow Suppression                                                        8.4 Pediatric Use
        5.2 Increased Toxicities in Elderly Patients                                       8.5 Geriatric Use
        5.3 Hypersensitivity Reactions                                                     8.6 Renal Impairment
        5.4 Gastrointestinal Adverse Reactions                                             8.7 Hepatic Impairment
        5.5 Renal Failure
        5.6 Urinary Disorders Including Cystitis
        5.7 Respiratory Disorders
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      10 OVERDOSAGE                                                             14.2 PROSELICA Trial (comparison of two doses of JEVTANA)
      11 DESCRIPTION                                                         15 REFERENCES
      12 CLINICAL PHARMACOLOGY                                               16 HOW SUPPLIED/STORAGE AND HANDLING
         12.1 Mechanism of Action                                               16.1 How Supplied
         12.2 Pharmacodynamics                                                  16.2 Storage
         12.3 Pharmacokinetics                                                  16.3 Handling and Disposal
      13 NONCLINICAL TOXICOLOGY                                              17 PATIENT COUNSELING INFORMATION
         13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility           *Sections or subsections omitted from the full prescribing information are not
      14 CLINICAL STUDIES                                                    listed.
         14.1 TROPIC Trial (JEVTANA + prednisone compared to mitoxantrone)




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               FULL PRESCRIBING INFORMATION

                                  WARNING: NEUTROPENIA AND HYPERSENSITIVITY

               Neutropenia: Neutropenic deaths have been reported. Monitor for neutropenia with
               frequent blood cell counts. JEVTANA is contraindicated in patients with neutrophil
               counts of ≤1,500 cells/mm3. Primary prophylaxis with G-CSF is recommended in patients
               with high-risk clinical features [see Contraindications (4) and Warnings and Precautions
               (5.1, 5.2)].

               Severe hypersensitivity: Severe hypersensitivity reactions can occur and may include
               generalized rash/erythema, hypotension and bronchospasm. Severe hypersensitivity
               reactions require immediate discontinuation of the JEVTANA infusion and administration
               of appropriate therapy. Patients should receive premedication. JEVTANA is
               contraindicated in patients who have a history of severe hypersensitivity reactions to
               cabazitaxel or to other drugs formulated with polysorbate 80 [see Dosage and
               Administration (2.1), Contraindications (4), and Warnings and Precautions (5.3)].

               1         INDICATIONS AND USAGE
               JEVTANA® is indicated in combination with prednisone for the treatment of patients with
               metastatic castration-resistant prostate cancer previously treated with a docetaxel-containing
               treatment regimen.

               2         DOSAGE AND ADMINISTRATION
               2.1       Dosing Information
               The recommended dose of JEVTANA is based on calculation of the Body Surface Area (BSA),
               and is 20 mg/m2 administered as a one-hour intravenous infusion every three weeks in
               combination with oral prednisone 10 mg administered daily throughout JEVTANA treatment.
               A dose of 25 mg/m2 can be used in select patients at the discretion of the treating healthcare
               provider [see Warnings and Precautions (5.1, 5.2), Adverse Reactions (6.1), and Clinical Studies
               (14)].
               Premedicate at least 30 minutes prior to each dose of JEVTANA with the following intravenous
               medications to reduce the risk and/or severity of hypersensitivity [see Warnings and Precautions
               (5.3)]:
                     •   antihistamine (dexchlorpheniramine 5 mg, or diphenhydramine 25 mg or equivalent
                         antihistamine),
                     •   corticosteroid (dexamethasone 8 mg or equivalent steroid),
                     •   H 2 antagonist (ranitidine 50 mg or equivalent H 2 antagonist).
               Antiemetic prophylaxis is recommended and can be given orally or intravenously as needed [see
               Warnings and Precautions (5.3)].
               JEVTANA injection single-use vial requires two dilutions prior to administration [see Dosage
               and Administration (2.5)].




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               2.2      Dose Modifications for Adverse Reactions
               Reduce or discontinue JEVTANA dosing for adverse reactions as described in Table 1.

               Table 1: Recommended Dosage Modifications for Adverse Reactions in Patients Treated
               with JEVTANA
                   Toxicity                                                Dosage Modification
                   Prolonged grade ≥3 neutropenia (greater than 1 week)    Delay treatment until neutrophil count is
                   despite appropriate medication including granulocyte­   >1,500 cells/mm3, then reduce dosage of JEVTANA
                   colony stimulating factor (G-CSF)                       by one dose level. Use G-CSF for secondary
                                                                           prophylaxis.
                   Febrile neutropenia or neutropenic infection            Delay treatment until improvement or resolution, and
                                                                           until neutrophil count is >1,500 cells/mm3, then
                                                                           reduce dosage of JEVTANA by one dose level. Use
                                                                           G-CSF for secondary prophylaxis.
                   Grade ≥3 diarrhea or persisting diarrhea despite        Delay treatment until improvement or resolution, then
                   appropriate medication, fluid and electrolytes          reduce dosage of JEVTANA by one dose level.
                   replacement
                   Grade 2 peripheral neuropathy                           Delay treatment until improvement or resolution, then
                                                                           reduce dosage of JEVTANA by one dose level.
                   Grade ≥3 peripheral neuropathy                          Discontinue JEVTANA.

               Patients at a 20 mg/m2 dose who require dose reduction should decrease dosage of JEVTANA to
               15 mg/m2 [see Adverse Reactions (6.1)].
               Patients at a 25 mg/m2 dose who require dose reduction should decrease dosage of JEVTANA to
               20 mg/m2. One additional dose reduction to 15 mg/m2 may be considered [see Adverse
               Reactions (6.1)].
               2.3      Dose Modifications for Hepatic Impairment
               •     Mild hepatic impairment (total bilirubin >1 to ≤1.5 × Upper Limit of Normal (ULN) or AST
                     >1.5 × ULN): Administer JEVTANA at a dose of 20 mg/m2.
               •     Moderate hepatic impairment (total bilirubin >1.5 to ≤3 × ULN and AST = any): Administer
                     JEVTANA at a dose of 15 mg/m2 based on tolerability data in these patients; however, the
                     efficacy of this dose is unknown.
               •     Severe hepatic impairment (total bilirubin >3 × ULN): JEVTANA is contraindicated in
                     patients with severe hepatic impairment [see Warning and Precautions (5.8) and Clinical
                     Pharmacology (12.3)].
               2.4      Dose Modifications for Use with Strong CYP3A Inhibitors
               Concomitant drugs that are strong CYP3A inhibitors (e.g., ketoconazole, itraconazole,
               clarithromycin, atazanavir, indinavir, nefazodone, nelfinavir, ritonavir, saquinavir, telithromycin,
               voriconazole) may increase plasma concentrations of cabazitaxel. Avoid the coadministration of
               JEVTANA with these drugs. If patients require coadministration of a strong CYP3A inhibitor,
               consider a 25% JEVTANA dose reduction [see Drug Interactions (7.1) and Clinical
               Pharmacology (12.3)].
               2.5      Preparation and Administration
               JEVTANA is a cytotoxic anticancer drug. Follow applicable special handling and disposal
               procedures [see References (15)]. If JEVTANA first diluted solution, or second (final) dilution




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               for intravenous infusion should come into contact with the skin or mucous, immediately and
               thoroughly wash with soap and water.
               Do not use PVC infusion containers or polyurethane infusions sets for preparation and
               administration of JEVTANA infusion solution.
               JEVTANA should not be mixed with any other drugs.
               Preparation
               Read this entire section carefully before mixing and diluting. JEVTANA requires two dilutions
               prior to administration. Follow the preparation instructions provided below, as improper
               preparation may lead to overdose [see Overdosage (10)].
               Note: Both the JEVTANA injection and the diluent vials contain an overfill to compensate for
               liquid loss during preparation. This overfill ensures that after dilution with the entire contents
               of the accompanying diluent, there is an initial diluted solution containing 10 mg/mL
               JEVTANA.
               Inspect the JEVTANA injection and supplied diluent vials. The JEVTANA injection is a clear
               yellow to brownish-yellow viscous solution.
               Step 1 – first dilution
               Each vial of JEVTANA (cabazitaxel) 60 mg/1.5 mL must first be mixed with the entire contents
               of supplied diluent. Once reconstituted, the resultant solution contains 10 mg/mL of JEVTANA.
               When transferring the diluent, direct the needle onto the inside wall of JEVTANA vial and inject
               slowly to limit foaming. Remove the syringe and needle and gently mix the initial diluted
               solution by repeated inversions for at least 45 seconds to assure full mixing of the drug and
               diluent. Do not shake.
               Let the solution stand for a few minutes to allow any foam to dissipate, and check that the
               solution is homogeneous and contains no visible particulate matter. It is not required that all
               foam dissipate prior to continuing the preparation process.
               The resulting initial diluted JEVTANA solution (cabazitaxel 10 mg/mL) requires further dilution
               before administration. The second dilution should be done immediately (within 30 minutes) to
               obtain the final infusion as detailed in Step 2.
               Step 2 – second (final) dilution
               Withdraw the recommended dose from the JEVTANA solution containing 10 mg/mL as
               prepared in Step 1 using a calibrated syringe and further dilute into a sterile 250 mL PVC-free
               container of either 0.9% sodium chloride solution or 5% dextrose solution for infusion. If a dose
               greater than 65 mg of JEVTANA is required, use a larger volume of the infusion vehicle so that
               a concentration of 0.26 mg/mL JEVTANA is not exceeded. The concentration of the JEVTANA
               final infusion solution should be between 0.10 mg/mL and 0.26 mg/mL.
               Remove the syringe and thoroughly mix the final infusion solution by gently inverting the bag or
               bottle.
               As the final infusion solution is supersaturated, it may crystallize over time. Do not use if this
               occurs and discard.




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               Fully prepared JEVTANA infusion solution (in either 0.9% sodium chloride solution or 5%
               dextrose solution) should be used within 8 hours at ambient temperature (including the one-hour
               infusion), or for a total of 24 hours (including the one-hour infusion) under the refrigerated
               conditions.
               Discard any unused portion.
               Administration
               Inspect visually for particulate matter, any crystals and discoloration prior to administration. If
               the JEVTANA first diluted solution or second (final) infusion solution is not clear or appears to
               have precipitation, it should be discarded.
               Use an in-line filter of 0.22 micrometer nominal pore size (also referred to as 0.2 micrometer)
               during administration.
               The final JEVTANA infusion solution should be administered intravenously as a one-hour
               infusion at room temperature.

               3         DOSAGE FORMS AND STRENGTHS
               JEVTANA (cabazitaxel) injection is supplied as a kit consisting of the following:
                     •   Cabazitaxel injection: 60 mg/1.5 mL; a clear yellow to brownish-yellow viscous solution
                     •   Diluent: 5.7 mL of 13% (w/w) ethanol in water; a clear colorless solution

               4         CONTRAINDICATIONS
               JEVTANA is contraindicated in patients with:
                     •   neutrophil counts of ≤1,500/mm3 [see Warnings and Precautions (5.1)]
                     •   history of severe hypersensitivity reactions to cabazitaxel or to other drugs formulated
                         with polysorbate 80 [see Warnings and Precautions (5.3)]
                     •   severe hepatic impairment (total bilirubin >3 × ULN) [see Warnings and Precautions
                         (5.8)]

               5         WARNINGS AND PRECAUTIONS
               5.1       Bone Marrow Suppression
               JEVTANA is contraindicated in patients with neutrophils ≤1,500/mm3 [see Contraindications
               (4)]. Closely monitor patients with hemoglobin <10 g/dL.
               Bone marrow suppression manifested as neutropenia, anemia, thrombocytopenia and/or
               pancytopenia may occur. Neutropenic deaths have been reported.
               In a randomized trial (TROPIC) in previously treated patients with metastatic castration-resistant
               prostate cancer, five patients (1.3%) died from infection (sepsis or septic shock). All had grade 4
               neutropenia and one had febrile neutropenia. One additional patient’s death was attributed to
               neutropenia without a documented infection. Twenty-two (6%) patients discontinued JEVTANA
               treatment due to neutropenia, febrile neutropenia, infection, or sepsis. The most common
               adverse reaction leading to treatment discontinuation in the JEVTANA group was neutropenia
               (2%). Grade 3-4 neutropenia has been observed in 82% of patients treated with JEVTANA in the
               randomized trial.




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               In a randomized trial (PROSELICA) comparing two doses of JEVTANA in previously treated
               metastatic castration-resistant prostate cancer, 8 patients (1%) on the 20 mg/m2 arm and 15
               patients (3%) on the 25 mg/m2 arm died from infection; of these, 4 deaths on the 20 mg/m2 arm
               and 8 deaths on the 25 mg/m2 arm occurred within the first 30 days of treatment.
               Fewer patients receiving JEVTANA 20 mg/m2 were reported to have infectious adverse
               reactions. Grade 1-4 infections were experienced by 160 patients (28%) on the 20 mg/m2 arm
               and 227 patients (38%) on the 25 mg/m2 arm. Grade 3-4 infections were experienced by 57
               patients (10%) on the 20 mg/m2 arm and 120 patients (20%) on the 25 mg/m2 arm.
               Noninferiority for overall survival was demonstrated between these two arms [see Clinical
               Studies (14)].
               Based on guidelines for the use of G-CSF and the adverse reactions profile of JEVTANA,
               primary prophylaxis with G-CSF is recommended in patients with high-risk clinical features
               (older patients, poor performance status, previous episodes of febrile neutropenia, extensive prior
               radiation ports, poor nutritional status, or other serious comorbidities) that predispose them to
               increased complications from prolonged neutropenia. The effectiveness of primary prophylaxis
               with G-CSF in patients receiving JEVTANA has not been studied. Therapeutic use of G-CSF
               and secondary prophylaxis should be considered in all patients at increased risk for neutropenia
               complications.
               Monitoring of complete blood counts is essential on a weekly basis during cycle 1 and before each
               treatment cycle thereafter so that the dose can be adjusted, if needed [see Dosage and
               Administration (2.2)].
               5.2      Increased Toxicities in Elderly Patients
               In a randomized trial (TROPIC), 2% of patients (3/131) <65 years of age and 6% (15/240) ≥65
               years of age died of causes other than disease progression within 30 days of the last JEVTANA
               dose. Patients ≥65 years of age are more likely to experience certain adverse reactions, including
               neutropenia and febrile neutropenia. The incidence of the following grade 3-4 adverse reactions
               were higher in patients ≥65 years of age compared to younger patients; neutropenia (87% vs
               74%), and febrile neutropenia (8% vs 6%).
               In a randomized clinical trial (PROSELICA) comparing two doses of JEVTANA, deaths due to
               infection within 30 days of starting JEVTANA occurred in 0.7% (4/580) patients on the 20
               mg/m2 arm and 1.3% (8/595) patients on the 25 mg/m2 arm; all of these patients were >60 years
               of age.
               In PROSELICA, on the 20 mg/m2 arm, 3% (5/178) of patients <65 years of age and 2% (9/402)
               ≥65 years of age died of causes other than disease progression within 30 days of the last
               JEVTANA dose. On the 25 mg/m2 arm, 2% (3/175) patients <65 years of age and 5% (20/420)
               ≥65 years of age died of causes other than disease progression within 30 days of the last
               JEVTANA dose [see Adverse Reactions (6) and Use in Specific Populations (8.5)].
               5.3      Hypersensitivity Reactions
               Hypersensitivity reactions may occur within a few minutes following the initiation of the
               infusion of JEVTANA, thus facilities and equipment for the treatment of hypotension and
               bronchospasm should be available. Severe hypersensitivity reactions can occur and may include
               generalized rash/erythema, hypotension and bronchospasm.




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               Premedicate all patients prior to the initiation of the infusion of JEVTANA [see Dosage and
               Administration (2.1)]. Observe patients closely for hypersensitivity reactions, especially during
               the first and second infusions. Severe hypersensitivity reactions require immediate
               discontinuation of the JEVTANA infusion and appropriate therapy. JEVTANA is
               contraindicated in patients with a history of severe hypersensitivity reactions to cabazitaxel or to
               other drugs formulated with polysorbate 80 [see Contraindications (4)].
               5.4      Gastrointestinal Adverse Reactions
               Nausea, vomiting and severe diarrhea, at times, may occur. Deaths related to diarrhea and
               electrolyte imbalance occurred in the randomized clinical trials. Intensive measures may be
               required for severe diarrhea and electrolyte imbalance. Antiemetic prophylaxis is recommended.
               Treat patients with rehydration, antidiarrheal or antiemetic medications as needed. Treatment
               delay or dosage reduction may be necessary if patients experience Grade ≥3 diarrhea [see
               Dosage and Administration (2.2)].
               Gastrointestinal (GI) hemorrhage and perforation, ileus, enterocolitis, neutropenic enterocolitis,
               including fatal outcome, have been reported in patients treated with JEVTANA [see Adverse
               Reactions (6.2)]. Risk may be increased with neutropenia, age, steroid use, concomitant use of
               NSAIDs, antiplatelet therapy or anticoagulants, and patients with a prior history of pelvic
               radiotherapy, adhesions, ulceration and GI bleeding.
               Abdominal pain and tenderness, fever, persistent constipation, diarrhea, with or without
               neutropenia, may be early manifestations of serious gastrointestinal toxicity and should be
               evaluated and treated promptly. JEVTANA treatment delay or discontinuation may be
               necessary.
               The incidence of gastrointestinal adverse reactions is greater in the patients who have received
               prior radiation. In PROSELICA, diarrhea was reported in 41% (297/732) of patients who had
               received prior radiation and in 27% (118/443) of patients without prior radiation. Of the patients
               who had previously received radiation, more patients on the 25 mg/m2 arm reported diarrhea,
               compared to patients on the 20 mg/m2 arm.
               5.5      Renal Failure
               In the randomized clinical trial (TROPIC), renal failure of any grade occurred in 4% of the
               patients being treated with JEVTANA, including four cases with fatal outcome. Most cases
               occurred in association with sepsis, dehydration, or obstructive uropathy [see Adverse Reactions
               (6.1)]. Some deaths due to renal failure did not have a clear etiology. Appropriate measures
               should be taken to identify causes of renal failure and treat aggressively.
               5.6      Urinary Disorders Including Cystitis
               Cystitis, radiation cystitis, and hematuria, including that requiring hospitalization, has been
               reported with JEVTANA in patients who previously received pelvic radiation [see Adverse
               Reactions (6.2)]. In PROSELICA, cystitis and radiation cystitis were reported in 1.2% and 1.5%
               of patients who received prior radiation, respectively. Hematuria was reported in 19.4% of
               patients who received prior radiation and in 14.4% of patients who did not receive prior
               radiation. Cystitis from radiation recall may occur late in treatment with JEVTANA. Monitor
               patients who previously received pelvic radiation for signs and symptoms of cystitis while on
               JEVTANA. Interrupt or discontinue JEVTANA in patients experiencing severe hemorrhagic
               cystitis. Medical and/or surgical supportive treatment may be required to treat severe




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               hemorrhagic cystitis.
               5.7      Respiratory Disorders
               Interstitial pneumonia/pneumonitis, interstitial lung disease and acute respiratory distress
               syndrome have been reported and may be associated with fatal outcome [see Adverse Reactions
               (6.2)]. Patients with underlying lung disease may be at higher risk for these events. Acute
               respiratory distress syndrome may occur in the setting of infection.
               Interrupt JEVTANA if new or worsening pulmonary symptoms develop. Closely monitor,
               promptly investigate, and appropriately treat patients receiving JEVTANA. Consider
               discontinuation. The benefit of resuming JEVTANA treatment must be carefully evaluated.
               5.8      Use in Patients with Hepatic Impairment
               Cabazitaxel is extensively metabolized in the liver.
               JEVTANA is contraindicated in patients with severe hepatic impairment (total bilirubin >3 ×
               ULN) [see Contraindications (4)]. Dose should be reduced for patients with mild (total bilirubin
               >1 to ≤1.5 × ULN or AST >1.5 × ULN) and moderate (total bilirubin >1.5 to ≤3.0 × ULN and
               any AST) hepatic impairment, based on tolerability data in these patients [see Dosage and
               Administration (2.3) and Use in Specific Populations (8.7)]. Administration of JEVTANA to
               patients with mild and moderate hepatic impairment should be undertaken with caution and close
               monitoring of safety.
               5.9      Embryo-Fetal Toxicity
               Based on findings in animal reproduction studies and its mechanism of action, JEVTANA can
               cause fetal harm when administered to a pregnant woman [see Clinical Pharmacology (12.1)].
               There are no available data in pregnant women to inform the drug-associated risk. In animal
               reproduction studies, intravenous administration of cabazitaxel in pregnant rats during
               organogenesis caused embryonic and fetal death at doses lower than the maximum recommended
               human dose (approximately 0.06 times the C max in patients at the recommended human dose).
               Advise males with female partners of reproductive potential to use effective contraception during
               treatment and for 3 months after the last dose of JEVTANA [see Use in Specific Populations
               (8.1, 8.3)].

               6        ADVERSE REACTIONS
               The following serious adverse reactions are discussed in greater detail in another section of the
               label:
                     • Bone Marrow Suppression [see Warnings and Precautions (5.1)]
                     • Increased Toxicities in Elderly Patients [see Warnings and Precautions (5.2)]
                     • Hypersensitivity Reactions [see Warnings and Precautions (5.3)]
                     • Gastrointestinal Adverse Reactions [see Warnings and Precautions (5.4)]
                     • Renal Failure [see Warnings and Precautions (5.5)]
                     • Urinary Disorders Including Cystitis [see Warnings and Precautions (5.6)]
                     • Respiratory Disorders [see Warnings and Precautions (5.7)]
                     • Use in Patients with Hepatic Impairment [see Warnings and Precautions (5.8)]




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               6.1        Clinical Trials Experience
               Because clinical trials are conducted under widely varying conditions, the adverse reaction rates
               observed cannot be directly compared to rates in other trials and may not reflect the rates
               observed in clinical practice.
               TROPIC Trial (JEVTANA + prednisone compared to mitoxantrone)
               The safety of JEVTANA in combination with prednisone was evaluated in 371 patients with
               metastatic castration-resistant prostate cancer treated in the randomized TROPIC trial, compared
               to mitoxantrone plus prednisone.
               Deaths due to causes other than disease progression within 30 days of last study drug dose were
               reported in 18 (5%) JEVTANA-treated patients and 3 (<1%) mitoxantrone-treated patients. The
               most common fatal adverse reactions in JEVTANA-treated patients were infections (n=5) and
               renal failure (n=4). The majority (4 of 5 patients) of fatal infection-related adverse reactions
               occurred after a single dose of JEVTANA. Other fatal adverse reactions in JEVTANA-treated
               patients included ventricular fibrillation, cerebral hemorrhage, and dyspnea.
               The most common (≥10%) grade 1-4 adverse reactions were anemia, leukopenia, neutropenia,
               thrombocytopenia, diarrhea, fatigue, nausea, vomiting, constipation, asthenia, abdominal pain,
               hematuria, back pain, anorexia, peripheral neuropathy, pyrexia, dyspnea, dysgeusia, cough,
               arthralgia, and alopecia.
               The most common (≥5%) grade 3-4 adverse reactions in patients who received JEVTANA were
               neutropenia, leukopenia, anemia, febrile neutropenia, diarrhea, fatigue, and asthenia.
               Treatment discontinuations due to adverse drug reactions occurred in 18% of patients who
               received JEVTANA and 8% of patients who received mitoxantrone. The most common adverse
               reactions leading to treatment discontinuation in the JEVTANA group were neutropenia and
               renal failure. Dose reductions were reported in 12% of JEVTANA-treated patients and 4% of
               mitoxantrone-treated patients. Dose delays were reported in 28% of JEVTANA-treated patients
               and 15% of mitoxantrone-treated patients.

               Table 2: Incidence of Adverse Reactions* and Hematologic Abnormalities in ≥5% of
               Patients Receiving JEVTANA in Combination with Prednisone or Mitoxantrone in
               Combination with Prednisone in TROPIC
                                                 JEVTANA 25 mg/m2 every 3
                                                                                Mitoxantrone 12 mg/m2 every 3
                                                 weeks with prednisone 10 mg
                                                                               weeks with prednisone 10 mg daily
                                                            daily
                                                                                            n=371
                                                            n=371
                                                 Grade 1-4         Grade 3-4     Grade 1-4         Grade 3-4
                                                   n (%)             n (%)        n (%)             n (%)
                   Any Adverse Reaction
                   Blood and Lymphatic System Disorders
                        Neutropenia†              347 (94%)       303 (82%)      325 (87%)         215 (58%)
                        Febrile Neutropenia        27 (7%)         27 (7%)         5 (1%)           5 (1%)
                        Anemia†                   361 (98%)        39 (11%)      302 (82%)          18 (5%)
                        Leukopenia†               355 (96%)       253 (69%)      343 (93%)         157 (42%)
                                           †
                        Thrombocytopenia          176 (48%)        15 (4%)       160 (43%)          6 (2%)




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                                                   JEVTANA 25 mg/m2 every 3
                                                                                     Mitoxantrone 12 mg/m2 every 3
                                                   weeks with prednisone 10 mg
                                                                                    weeks with prednisone 10 mg daily
                                                              daily
                                                                                                 n=371
                                                              n=371
                                                   Grade 1-4         Grade 3-4       Grade 1-4          Grade 3-4
                                                     n (%)             n (%)          n (%)              n (%)
                   Cardiac Disorders
                        Arrhythmia‡                    18 (5%)            4 (1%)       6 (2%)            1 (<1%)
                   Gastrointestinal Disorders
                        Diarrhea                    173 (47%)             23 (6%)     39 (11%)           1 (<1%)
                        Nausea                      127 (34%)             7 (2%)      85 (23%)           1 (<1%)
                        Vomiting                       83 (22%)           6 (2%)      38 (10%)              0
                        Constipation                   76 (20%)           4 (1%)      57 (15%)           2 (<1%)
                                         §
                        Abdominal Pain                 64 (17%)           7 (2%)       23 (6%)              0
                                     ¶
                        Dyspepsia                      36 (10%)             0          9 (2%)               0
                   General Disorders and Administration Site Conditions
                        Fatigue                     136 (37%)             18 (5%)    102 (27%)           11 (3%)
                        Asthenia                       76 (20%)           17 (5%)     46 (12%)           9 (2%)
                        Pyrexia                        45 (12%)           4 (1%)       23 (6%)           1 (<1%)
                        Peripheral Edema               34 (9%)            2 (<1%)      34 (9%)           2 (<1%)
                        Mucosal Inflammation           22 (6%)            1 (<1%)      10 (3%)           1 (<1%)
                        Pain                           20 (5%)            4 (1%)       18 (5%)           7 (2%)
                   Infections and Infestations
                        Urinary Tract Infection#       29 (8%)            6 (2%)       12 (3%)           4 (1%)
                   Investigations
                        Weight Decreased               32 (9%)              0          28 (8%)           1 (<1%)
                   Metabolism and Nutrition Disorders
                        Anorexia                       59 (16%)           3 (<1%)     39 (11%)           3 (<1%)
                        Dehydration                    18 (5%)            8 (2%)       10 (3%)           3 (<1%)
                   Musculoskeletal and Connective Tissue Disorders
                        Back Pain                      60 (16%)           14 (4%)     45 (12%)           11 (3%)
                        Arthralgia                     39 (11%)           4 (1%)       31 (8%)           4 (1%)
                        Muscle Spasms                  27 (7%)              0          10 (3%)              0
                   Nervous System Disorders
                        Peripheral NeuropathyÞ         50 (13%)           3 (<1%)      12 (3%)           3 (<1%)
                        Dysgeusia                      41 (11%)             0          15 (4%)              0
                        Dizziness                      30 (8%)              0          21 (6%)           2 (<1%)
                        Headache                       28 (8%)              0          19 (5%)              0
                   Renal and Urinary Tract Disorders




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                                                      JEVTANA 25 mg/m2 every 3
                                                                                             Mitoxantrone 12 mg/m2 every 3
                                                      weeks with prednisone 10 mg
                                                                                            weeks with prednisone 10 mg daily
                                                                 daily
                                                                                                         n=371
                                                                 n=371
                                                      Grade 1-4         Grade 3-4             Grade 1-4            Grade 3-4
                                                        n (%)             n (%)                 n (%)                n (%)
                        Hematuria                      62 (17%)           7 (2%)               13 (4%)              1 (<1%)
                        Dysuria                         25 (7%)                 0               5 (1%)                  0
                   Respiratory, Thoracic and Mediastinal Disorders
                        Dyspnea                         43 (12%)             4 (1%)             16 (4%)             2 (<1%)
                        Cough                           40 (11%)                0               22 (6%)                 0
                   Skin and Subcutaneous Tissue Disorders
                        Alopecia                        37 (10%)                0               18 (5%)                 0
                   Vascular Disorders
                      Hypotension                              20 (5%)              2 (<1 %)             9 (2%)             1 (<1%)
                   Median Duration of
                   Treatment                                              6 cycles                                4 cycles
               *
                 Graded using NCI CTCAE version 3.
               †
                 Based on laboratory values, JEVTANA: n=369, mitoxantrone: n=370.
               ‡
                 Includes atrial fibrillation, atrial flutter, atrial tachycardia, atrioventricular block complete, bradycardia,
                 palpitations, supraventricular tachycardia, tachyarrhythmia, and tachycardia.
               §
                 Includes abdominal discomfort, abdominal pain lower, abdominal pain upper, abdominal tenderness, and GI pain.
               ¶
                 Includes gastroesophageal reflux disease and reflux gastritis.
               #
                 Includes urinary tract infection enterococcal and urinary tract infection fungal.
               Þ
                 Includes peripheral motor neuropathy and peripheral sensory neuropathy.

               PROSELICA Trial (comparison of two doses of JEVTANA)

               In a noninferiority, multicenter, randomized, open-label study (PROSELICA), 1175 patients with
               metastatic castration-resistant prostate cancer, previously treated with a docetaxel-containing
               regimen, were treated with either JEVTANA 25 mg/m2 (n=595) or the 20 mg/m2 (n=580) dose.
               Deaths within 30 days of last study drug dose were reported in 22 (3.8%) patients in the 20
               mg/m2 and 32 (5.4%) patients in the 25 mg/m2 arm. The most common fatal adverse reactions in
               JEVTANA-treated patients were related to infections, and these occurred more commonly on the
               25 mg/m2 arm (n=15) than on the 20 mg/m2 arm (n=8). Other fatal adverse reactions in
               JEVTANA-treated patients included cerebral hemorrhage, respiratory failure, paralytic ileus,
               diarrhea, acute pulmonary edema, disseminated intravascular coagulation, renal failure, sudden
               death, cardiac arrest, ischemic stroke, diverticular perforation, and cardiorenal syndrome.
               Grade 1-4 adverse reactions occurring ≥5% more commonly in patients on the 25 mg/m2 versus
               20 mg/m2 arms were leukopenia, neutropenia, thrombocytopenia, febrile neutropenia, decreased
               appetite, nausea, diarrhea, asthenia, and hematuria.
               Grade 3-4 adverse reactions occurring ≥5% more commonly in patients on the 25 mg/m2 versus
               20 mg/m2 arms were leukopenia, neutropenia, and febrile neutropenia.
               Treatment discontinuations due to adverse drug reactions occurred in 17% of patients in the 20
               mg/m2 group and 20% of patients in the 25 mg/m2 group. The most common adverse reactions




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               leading to treatment discontinuation were fatigue and hematuria. The patients in the 20 mg/m2
               group received a median of 6 cycles (median duration of 18 weeks), while patients in the 25
               mg/m2 group received a median of 7 cycles (median duration of 21 weeks). In the 25 mg/m2
               group, 128 patients (22%) had a dose reduced from 25 to 20 mg/m2, 19 patients (3%) had a dose
               reduced from 20 to 15 mg/m2 and 1 patient (0.2%) had a dose reduced from 15 to 12 mg/m2. In
               the 20 mg/m2 group, 58 patients (10%) had a dose reduced from 20 to 15 mg/m2, and 9 patients
               (2%) had a dose reduced from 15 to 12 mg/m2.

               Table 3: Incidence of Adverse Reactions* in ≥5% of Patients Receiving JEVTANA 20
               mg/m2 or 25 mg/m2 in Combination with Prednisone in PROSELICA
                                                 JEVTANA 20 mg/m2 every 3 weeks   JEVTANA 25 mg/m2 every 3 weeks
                                                   with prednisone 10 mg daily      with prednisone 10 mg daily
                                                             n=580                            n=595
                   Primary System Organ
                                                 Grade 1-4          Grade 3-4       Grade 1-4       Grade 3-4
                   Class
                                                   n (%)             n (%)           n (%)           n (%)
                   Preferred Term
                   Blood and Lymphatic System Disorders
                    Febrile Neutropenia            12 (2%)           12 (2%)         55 (9%)         55 (9%)
                    Neutropenia†                   18 (3%)           14 (2%)        65 (11%)         57 (10%)
                   Infections and Infestations
                    Urinary tract infection‡       43 (7%)           12 (2%)        66 (11%)         14 (2%)
                    Neutropenic infection§         15 (3%)           13 (2%)         42 (7%)         36 (6%)
                   Metabolism and Nutrition Disorders
                    Decreased appetite             76 (13%)         4 (0.7%)        110 (19%)         7 (1%)
                   Nervous System Disorders
                    Dysgeusia                      41 (7%)              0           63 (11%)            0
                    Peripheral sensory
                                                   38 (7%)              0           63 (11%)         4 (0.7%)
                    neuropathy
                    Dizziness                      24 (4%)              0            32 (5%)            0
                    Headache                       29 (5%)          1 (0.2%)         24 (4%)         1 (0.2%)
                  Respiratory, Thoracic and Mediastinal Disorders
                    Dyspnea                        30 (5%)          5 (0.9%)         46 (8%)         4 (0.7%)
                    Cough                          34 (6%)              0            35 (6%)            0
                  Gastrointestinal Disorders
                    Diarrhea                      178 (31%)          8 (1%)         237 (40%)        24 (4%)
                    Nausea                        142 (25%)         4 (0.7%)        191 (32%)         7 (1%)
                    Vomiting                       84 (15%)         7 (1.2%)        108 (18 %)        8 (1%)
                    Constipation                  102 (18%)         2 (0.3%)        107 (18%)        4 (0.7%)
                    Abdominal pain                 34 (6%)          3 (0.5%)         52 (9%)          7 (1%)
                    Stomatitis                     27 (5%)              0            30 (5%)         2 (0.3%)
                  Skin and Subcutaneous Tissue Disorders




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                                                    JEVTANA 20 mg/m2 every 3 weeks             JEVTANA 25 mg/m2 every 3 weeks
                                                      with prednisone 10 mg daily                with prednisone 10 mg daily
                                                                n=580                                      n=595
                   Primary System Organ
                                                       Grade 1-4            Grade 3-4              Grade 1-4            Grade 3-4
                   Class
                                                        n (%)                n (%)                  n (%)                n (%)
                   Preferred Term
                    Alopecia                            15 (3%)                  0                 36 (6.1%)                 0
                   Musculoskeletal and Connective Tissue Disorders
                    Back pain                          64 (11%)              5 (0.9%)              83 (14%)               7 (1%)
                    Bone pain                           46 (8%)               10 (2%)               50 (8%)              13 (2 %)
                    Arthralgia                          49 (8%)              3 (0.5%)               41 (7%)              5 (0.8%)
                    Pain in extremity                   30 (5%)              1 (0.2%)               41 (7%)              3 (0.5%)
                   Renal and Urinary Disorders
                    Hematuria                          82 (14%)               11 (2%)              124 (21%)             25 (4%)
                    Dysuria                             31 (5%)              2 (0.3%)               24 (4%)                  0
                   General Disorders and Administration Site Conditions
                    Fatigue                            143 (25%)              15 (3%)              161 (27%)             22 (4%)
                    Asthenia                           89 (15%)               11 (2%)              117 (20%)             12 (2%)
                    Edema peripheral                    39 (7%)              1 (0.2%)               53 (9%)              1 (0.2%)
                    Pyrexia                             27 (5%)              1 (0.2%)               38 (6 %)             1 (0.2%)
                   Investigations
                    Weight decreased                    24 (4%)              1 (0.2%)               44 (7%)                  0
                   Injury, Poisoning and Procedural Complications
                     Wrong technique in drug
                                                        2 (0.3%)                  0                  32 (5%)                  0
                     usage process
               * Grade from NCI CTCAE version 4.03.
               †
                 Based on adverse event reporting.
               ‡
                 Includes urinary tract infection staphylococcal, urinary tract infection bacterial, urinary tract infection fungal, and
                 urosepsis.
               §
                 Includes neutropenic sepsis.

               Table 4: Incidence of Hematologic Laboratory Abnormalities in Patients Receiving
               JEVTANA 20 mg/m2 or 25 mg/m2 in Combination with Prednisone in Study PROSELICA
                                                    JEVTANA 20 mg/m2 every 3 weeks             JEVTANA 25 mg/m2 every 3 weeks
                                                      with prednisone 10 mg daily                 with prednisone 10 mg daily
                                                                n=577                                       n=590
                                                       Grade 1-4            Grade 3-4             Grade 1-4             Grade 3-4
                   Laboratory Abnormality
                                                         n (%)                n (%)                 n (%)                 n (%)
                   Neutropenia                         384 (67%)            241 (42%)             522 (89%)             432 (73%)
                   Anemia                             576 (99.8%)            57 (10%)             588 (99.7%)            81 (14%)
                   Leukopenia                          461 (80%)            167 (29%)              560 (95%)            351 (60%)
                   Thrombocytopenia                    202 (35%)              15 (3%)              251 (43%)             25 (4%)




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               Hematuria
               In study TROPIC, adverse reactions of hematuria, including those requiring medical
               intervention, were more common in JEVTANA-treated patients. The incidence of grade ≥2
               hematuria was 6% in JEVTANA-treated patients and 2% in mitoxantrone-treated patients. Other
               factors associated with hematuria were well-balanced between arms and do not account for the
               increased rate of hematuria on the JEVTANA arm.
               In study PROSELICA, hematuria of all grades was observed in 18% of patients overall.
               Hepatic Laboratory Abnormalities
               The incidences of grade 3-4 increased AST, increased ALT, and increased bilirubin were each
               ≤1%.
               6.2      Postmarketing Experience
               The following adverse reactions have been identified from clinical trials and/or postmarketing
               surveillance. Because they are reported from a population of unknown size, precise estimates of
               frequency cannot be made.
               Gastrointestinal: Gastritis, intestinal obstruction.
               Respiratory: Interstitial pneumonia/pneumonitis, interstitial lung disease and acute respiratory
               distress syndrome.
               Renal and urinary disorders: Radiation recall hemorrhagic cystitis.

               7        DRUG INTERACTIONS
               7.1      CYP3A Inhibitors
               Cabazitaxel is primarily metabolized through CYP3A [see Clinical Pharmacology (12.3)].
               Strong CYP3A inhibitors (e.g., ketoconazole, itraconazole, clarithromycin, atazanavir, indinavir,
               nefazodone, nelfinavir, ritonavir, saquinavir, telithromycin, voriconazole) may increase plasma
               concentrations of cabazitaxel. Avoid the coadministration of JEVTANA with strong CYP3A
               inhibitors. If patients require coadministration of a strong CYP3A inhibitor, consider a 25%
               JEVTANA dose reduction [see Dosage and Administration (2.4) and Clinical Pharmacology
               (12.3)].

               8        USE IN SPECIFIC POPULATIONS
               8.1      Pregnancy
               Risk Summary
               The safety and efficacy of JEVTANA have not been established in females. There are no human
               data on the use of JEVTANA in pregnant women to inform the drug-associated risk. In animal
               reproduction studies, intravenous administration of cabazitaxel in pregnant rats during
               organogenesis caused embryonic and fetal death at doses lower than the maximum recommended
               human dose [see Data].
               Data
               Animal data




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               In an early embryonic developmental toxicity study in rats, cabazitaxel was administered
               intravenously for 15 days prior to mating through Day 6 of pregnancy, which resulted in an
               increase in pre-implantation loss at 0.2 mg/kg/day and an increase in early resorptions at ≥0.1
               mg/kg/day (approximately 0.06 and 0.02 times the C max in patients at the recommended human
               dose, respectively).
               In an embryo-fetal developmental toxicity study in rats, cabazitaxel caused maternal and
               embryo-fetal toxicity consisting of increased postimplantation loss, embryolethality, and fetal
               deaths when administered intravenously at a dose of 0.16 mg/kg/day (approximately 0.06 times
               the C max in patients at the recommended human dose). Decreased mean fetal birthweight
               associated with delays in skeletal ossification was observed at doses ≥0.08 mg/kg. Cabazitaxel
               crossed the placenta barrier within 24 hours of a single intravenous administration of 0.08 mg/kg
               to pregnant rats at gestational day 17. A dose of 0.08 mg/kg in rats resulted in a C max
               approximately 0.02 times that observed in patients at the recommended human dose.
               Administration of cabazitaxel did not result in fetal abnormalities in rats or rabbits at exposure
               levels significantly lower than the expected human exposures.
               8.2      Lactation
               Risk Summary
               The safety and efficacy of JEVTANA have not been established in females. There is no
               information available on the presence of cabazitaxel in human milk, the effects of the drug on the
               breastfed infant, or the effects of the drug on milk production. Cabazitaxel or cabazitaxel
               metabolites are excreted in maternal milk of lactating rats [see Data].
               Data
               Animal data
               In a milk excretion study, radioactivity related to cabazitaxel was detected in the stomachs of
               nursing pups within 2 hours of a single intravenous administration of cabazitaxel to lactating rats
               at a dose of 0.08 mg/kg (approximately 0.02 times the C max in patients at the recommended
               human dose). This was detectable 24 hours post dose. Approximately 1.5% of the dose delivered
               to the mother was calculated to be delivered in the maternal milk.
               8.3      Females and Males of Reproductive Potential
               Contraception
               Males
               Based on findings in animal reproduction studies, advise male patients with female partners of
               reproductive potential to use effective contraception during treatment and for 3 months after the
               final dose of JEVTANA [see Use in Specific Populations (8.1)].
               Infertility
               Males
               Based on animal toxicology studies, JEVTANA may impair human fertility in males of
               reproductive potential [see Nonclinical Toxicology (13.1)].
               8.4      Pediatric Use
               The safety and effectiveness of JEVTANA in pediatric patients have not been established.




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               JEVTANA was evaluated in 39 pediatric patients (ages 3 to 18 years) receiving prophylactic G­
               CSF. The maximum tolerated dose (MTD) was 30 mg/m2 intravenously over 1 hour on Day 1 of
               a 21 day cycle in pediatric patients with solid tumors based on the dose-limiting toxicity (DLT)
               of febrile neutropenia. No objective responses were observed in 11 patients with refractory high
               grade glioma (HGG) or diffuse intrinsic pontine glioma (DIPG). One patient had a partial
               response among the 9 patients with ependymoma.
               Infusion related/hypersensitivity reactions were seen in 10 patients (26%). Three patients
               experienced serious adverse events of anaphylactic reaction. The incidence of infusion
               related/hypersensitivity reactions decreased with steroid pre-medication. The most frequent
               treatment-emergent adverse events were similar to those reported in adults.
               Based on the population pharmacokinetics analysis conducted with data from 31 pediatric
               patients with cancer (ages 3 to 18 years), the clearances by body surface area were comparable to
               those in adults.
               8.5      Geriatric Use
               In the TROPIC study, of the 371 patients with prostate cancer treated with JEVTANA every
               three weeks plus prednisone, 240 patients (64.7%) were 65 years of age and over, while 70
               patients (18.9%) were 75 years of age and over. No overall differences in effectiveness were
               observed between patients ≥65 years of age and younger patients. Elderly patients (≥65 years of
               age) may be more likely to experience certain adverse reactions. The incidence of death due to
               causes other than disease progression within 30 days of the last cabazitaxel dose were higher in
               patients who were 65 years of age or greater compared to younger patients [see Warnings and
               Precautions (5.2)]. The incidence of grade 3-4 neutropenia and febrile neutropenia were higher
               in patients who were 65 years of age or greater compared to younger patients. The following
               grade 1-4 adverse reactions were reported at rates ≥5% higher in patients 65 years of age or older
               compared to younger patients: fatigue (40% vs 30%), neutropenia (97% vs 89%), asthenia (24%
               vs 15%), pyrexia (15% vs 8%), dizziness (10% vs 5%), urinary tract infection (10% vs 3%), and
               dehydration (7% vs 2%), respectively.
               In the PROSELICA study, the grade 1-4 adverse reactions reported at rates of at least 5% higher
               in patients 65 years of age or older compared to younger patients were diarrhea (43% vs 33%),
               fatigue (30% vs 19%), asthenia (22% vs 13%), constipation (20% vs 13%), clinical neutropenia
               (13% vs 6%), febrile neutropenia (11% vs 5%), and dyspnea (10% vs 3%).
               Based on a population pharmacokinetic analysis, no significant difference was observed in the
               pharmacokinetics of cabazitaxel between patients <65 years (n=100) and older (n=70).
               8.6      Renal Impairment
               No dose adjustment is necessary in patients with renal impairment not requiring hemodialysis.
               Patients presenting with end-stage renal disease (creatinine clearance CLCR <15 mL/min/1.73
               m2), should be monitored carefully during treatment [see Clinical Pharmacology (12.3)].
               8.7      Hepatic Impairment
               Cabazitaxel is extensively metabolized in the liver. Patients with mild hepatic impairment (total
               bilirubin >1 to ≤1.5 × ULN or AST >1.5 × ULN) should have JEVTANA dose of 20 mg/m2.
               Administration of cabazitaxel to patients with mild hepatic impairment should be undertaken
               with caution and close monitoring of safety [see Clinical Pharmacology (12.3)]. The maximum




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               tolerated dose in patients with moderate hepatic impairment (total bilirubin >1.5 to ≤3.0 × ULN
               and AST = any) was 15 mg/m2, however, the efficacy at this dose level was unknown.
               JEVTANA is contraindicated in patients with severe hepatic impairment (total bilirubin >3 ×
               ULN) [see Contraindications (4)].

               10           OVERDOSAGE
               There is no known antidote for JEVTANA overdose. Overdose has resulted from improper
               preparation [see Dosage and Administration (2.5)]. Read the entire section Dosage and
               Administration (2) carefully before mixing or diluting. Complications of overdose include
               exacerbation of adverse reactions such as bone marrow suppression and gastrointestinal
               disorders. Overdose has led to fatal outcome.
               In case of overdose, the patient should be kept in a specialized unit where vital signs, chemistry
               and particular functions can be closely monitored. Patients should receive therapeutic G-CSF as
               soon as possible after discovery of overdose. Other appropriate symptomatic measures should be
               taken, as needed.

               11           DESCRIPTION
               JEVTANA (cabazitaxel) injection is an antineoplastic agent belonging to the taxane class that is
               for intravenous use. It is prepared by semi-synthesis with a precursor extracted from yew
               needles.
               The chemical name of cabazitaxel is (2α,5β,7β,10β,13α)-4-acetoxy-13-({(2R,3S)-3­
               [(tertbutoxycarbonyl) amino]-2-hydroxy-3-phenylpropanoyl}oxy)-1-hydroxy-7,10-dimethoxy-9­
               oxo-5,20-epoxytax-11-en-2-yl benzoate – propan-2-one (1:1).
               Cabazitaxel has the following structural formula:
                        O                     O    O
                                                           O
                            NH        O
                    O

                                          O                            ,
                                 OH                                O       O
                                                       H
                                              HO           O
                                                   O
                                              O
                                                               O




               Cabazitaxel is a white to almost-white powder with a molecular formula of C 45 H 57 NO 14 C 3 H 6 O
               and a molecular weight of 894.01 (for the acetone solvate) / 835.93 (for the solvent free). It is
               lipophilic, practically insoluble in water and soluble in alcohol.
               JEVTANA (cabazitaxel) injection 60 mg/1.5 mL is a sterile, non-pyrogenic, clear yellow to
               brownish-yellow viscous solution and is available in single-dose vials containing 60 mg
               cabazitaxel (anhydrous and solvent free) and 1.56 g polysorbate 80.
               Each mL contains 40 mg cabazitaxel (anhydrous) and 1.04 g polysorbate 80.
               DILUENT for JEVTANA is a clear, colorless, sterile, and non-pyrogenic solution containing
               13% (w/w) ethanol in water for injection, approximately 5.7 mL.




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               JEVTANA requires two dilutions prior to intravenous infusion. JEVTANA injection should be
               diluted only with the supplied DILUENT for JEVTANA, followed by dilution in either 0.9%
               sodium chloride solution or 5% dextrose solution.

               12       CLINICAL PHARMACOLOGY
               12.1     Mechanism of Action
               Cabazitaxel is a microtubule inhibitor. Cabazitaxel binds to tubulin and promotes its assembly
               into microtubules while simultaneously inhibiting disassembly. This leads to the stabilization of
               microtubules, which results in the inhibition of mitotic and interphase cellular functions.
               12.2     Pharmacodynamics
               Cardiac Electrophysiology
               The effect of cabazitaxel following a single dose of 25 mg/m2 administered by intravenous
               infusion on QTc interval was evaluated in 94 patients with solid tumors. No large changes in the
               mean QT interval (i.e., >20 ms) from baseline based on Fridericia correction method were
               detected. However, a small increase in the mean QTc interval (i.e., <10 ms) cannot be excluded
               due to study design limitations.
               12.3     Pharmacokinetics
               A population pharmacokinetic analysis was conducted in 170 patients with solid tumors at doses
               ranging from 10 to 30 mg/m2 weekly or every three weeks.
               Absorption
               Based on the population pharmacokinetic analysis, after an intravenous dose of cabazitaxel
               25 mg/m2 every three weeks, the mean C max in patients with metastatic prostate cancer was
               226 ng/mL (CV 107%) and was reached at the end of the one-hour infusion (T max ). The mean
               AUC in patients with metastatic prostate cancer was 991 ng∙h/mL (CV 34%).
               No major deviation from the dose proportionality was observed from 10 to 30 mg/m² in patients
               with advanced solid tumors.
               Distribution
               The volume of distribution (V ss ) was 4,864 L (2,643 L/m² for a patient with a median BSA of
               1.84 m²) at steady state.
               In vitro, the binding of cabazitaxel to human serum proteins was 89% to 92% and was not
               saturable up to 50,000 ng/mL, which covers the maximum concentration observed in clinical
               trials. Cabazitaxel is mainly bound to human serum albumin (82%) and lipoproteins (88% for
               HDL, 70% for LDL, and 56% for VLDL). The in vitro blood-to-plasma concentration ratio in
               human blood ranged from 0.90 to 0.99, indicating that cabazitaxel was equally distributed
               between blood and plasma.
               Metabolism
               Cabazitaxel is extensively metabolized in the liver (>95%), mainly by the CYP3A4/5 isoenzyme
               (80% to 90%), and to a lesser extent by CYP2C8. Cabazitaxel is the main circulating moiety in
               human plasma. Seven metabolites were detected in plasma (including the 3 active metabolites
               issued from O-demethylation), with the main one accounting for 5% of cabazitaxel exposure.




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               Around 20 metabolites of cabazitaxel are excreted into human urine and feces.
               Elimination
               After a one-hour intravenous infusion [14C]-cabazitaxel 25 mg/m2, approximately 80% of the
               administered dose was eliminated within 2 weeks. Cabazitaxel is mainly excreted in the feces as
               numerous metabolites (76% of the dose); while renal excretion of cabazitaxel and metabolites
               account for 3.7% of the dose (2.3% as unchanged drug in urine).
               Based on the population pharmacokinetic analysis, cabazitaxel has a plasma clearance of 48.5
               L/h (CV 39%; 26.4 L/h/m² for a patient with a median BSA of 1.84 m²) in patients with
               metastatic prostate cancer. Following a one-hour intravenous infusion, plasma concentrations of
               cabazitaxel can be described by a three-compartment pharmacokinetic model with α-, β-, and γ­
               half-lives of 4 minutes, 2 hours, and 95 hours, respectively.
               Renal Impairment
               Cabazitaxel is minimally excreted via the kidney. A population pharmacokinetic analysis carried
               out in 170 patients including 14 patients with moderate renal impairment (30 mL/min ≤CLCR
               <50 mL/min) and 59 patients with mild renal impairment (50 mL/min ≤CL CR <80 mL/min)
               showed that mild to moderate renal impairment did not have meaningful effects on the
               pharmacokinetics of cabazitaxel. This was confirmed by a dedicated comparative
               pharmacokinetic study in patients with solid tumors with normal renal function (n=8, CLCR >80
               mL/min/1.73 m2), or moderate (n=8, 30 mL/min/1.73 m2 ≤CLCR <50 mL/min/1.73 m2) and
               severe (n=9, CL CR <30 mL/min/1.73 m2) renal impairment, who received several cycles of
               cabazitaxel in single IV infusion up to 25 mg/m2. Limited pharmacokinetic data were available in
               patients with end-stage renal disease (n=2, CL CR <15 mL/min/1.73 m2).
               Hepatic Impairment
               Cabazitaxel is extensively metabolized in the liver.
               A dedicated study in 43 cancer patients with hepatic impairment showed no influence of mild
               (total bilirubin >1 to ≤1.5 × ULN or AST >1.5 × ULN) or moderate (total bilirubin >1.5 to ≤3.0
               × ULN) hepatic impairment on cabazitaxel pharmacokinetics. The maximum tolerated dose
               (MTD) of cabazitaxel was 20 and 15 mg/m2, respectively.
               In 3 patients with severe hepatic impairment (total bilirubin >3 × ULN), a 39% decrease in
               clearance was observed when compared to patients with mild hepatic impairment (ratio=0.61,
               90% CI: 0.36-1.05), indicating some effect of severe hepatic impairment on cabazitaxel
               pharmacokinetics. The MTD of cabazitaxel in patients with severe hepatic impairment was not
               established. Based on safety and tolerability data, cabazitaxel dose should be maintained at 20
               mg/m2 in patients with mild hepatic impairment and reduced to 15 mg/m2 in patients with
               moderate hepatic impairment [see Warnings and Precautions (5.8) and Use in Specific
               Populations (8.7)]. Cabazitaxel is contraindicated in patients with severe hepatic impairment
               [see Contraindications (4) and Use in Specific Populations (8.7)].
               Drug Interactions
               A drug interaction study of JEVTANA in 23 patients with advanced cancers has shown that
               repeated administration of ketoconazole (400 mg orally once daily), a strong CYP3A inhibitor,
               increased the exposure to cabazitaxel (5 mg/m2 intravenous) by 25%.




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               A drug interaction study of JEVTANA in 13 patients with advanced cancers has shown that
               repeated administration of aprepitant (125 or 80 mg once daily), a moderate CYP3A inhibitor,
               did not modify the exposure to cabazitaxel (15 mg/m2 intravenous).
               A drug interaction study of JEVTANA in 21 patients with advanced cancers has shown that
               repeated administration of rifampin (600 mg once daily), a strong CYP3A inducer, decreased the
               exposure to cabazitaxel (15 mg/m2 intravenous) by 17%.
               A drug interaction study of JEVTANA in 11 patients with advanced cancers has shown that
               cabazitaxel (25 mg/m2 administered as a single 1-hour infusion) did not modify the exposure to
               midazolam, a probe substrate of CYP3A.
               Prednisone or prednisolone administered at 10 mg daily did not affect the pharmacokinetics of
               cabazitaxel.
               Based on in vitro studies, the potential for cabazitaxel to inhibit drugs that are substrates of other
               CYP isoenzymes (1A2, -2B6, -2C9, -2C8, -2C19, -2E1, -2D6, and CYP3A4/5) is low. In
               addition, cabazitaxel did not induce CYP isozymes (-1A, -2C9 and -3A) in vitro.
               In vitro, cabazitaxel did not inhibit the multidrug-resistance protein 1 (MRP1), 2 (MRP2) or
               organic cation transporter (OCT1). In vitro, cabazitaxel inhibited P-gp, BRCP, and organic anion
               transporting polypeptides (OATP1B1, OATP1B3). However the in vivo risk of cabazitaxel
               inhibiting MRPs, OCT1, P-gp, BCRP, OATP1B1 or OATP1B3 is low at the dose of 25 mg/m2.
               In vitro, cabazitaxel is a substrate of P-gp, but not a substrate of MRP1, MRP2, BCRP, OCT1,
               OATP1B1 or OATP1B3.

               13       NONCLINICAL TOXICOLOGY
               13.1     Carcinogenesis, Mutagenesis, Impairment of Fertility
               Long-term animal studies have not been performed to evaluate the carcinogenic potential of
               cabazitaxel.
               Cabazitaxel was positive for clastogenesis in the in vivo micronucleus test, inducing an increase
               of micronuclei in rats at doses ≥0.5 mg/kg. Cabazitaxel increased numerical aberrations with or
               without metabolic activation in an in vitro test in human lymphocytes though no induction of
               structural aberrations was observed. Cabazitaxel did not induce mutations in the bacterial reverse
               mutation (Ames) test. The positive in vivo genotoxicity findings are consistent with the
               pharmacological activity of the compound (inhibition of tubulin depolymerization).
               In a fertility study performed in female rats at cabazitaxel doses of 0.05, 0.1, or 0.2 mg/kg/day
               there was no effect of administration of the drug on mating behavior or the ability to become
               pregnant. In repeat-dose toxicology studies in rats with intravenous cabazitaxel administration
               once every three weeks for up to 6 months, atrophy of the uterus was observed at the 5 mg/kg
               dose level (approximately the AUC in patients with cancer at the recommended human dose)
               along with necrosis of the corpora lutea at doses ≥1 mg/kg (approximately 0.2 times the AUC at
               the clinically recommended human dose).
               In a fertility study in male rats, cabazitaxel did not affect mating performances or fertility at
               doses of 0.05, 0.1, or 0.2 mg/kg/day. In repeat-dose toxicology studies with intravenous
               cabazitaxel administration once every three weeks for up to 9 months, degeneration of seminal
               vesicle and seminiferous tubule atrophy in the testis were observed in rats at a dose of 1 mg/kg




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               (approximately 0.2 times the AUC in patients at the recommended human dose), and minimal
               testicular degeneration (minimal epithelial single cell necrosis in epididymis) was observed in
               dogs treated at a dose of 0.5 mg/kg (approximately 0.1 times the AUC in patients at the
               recommended human dose).

               14       CLINICAL STUDIES
               14.1     TROPIC Trial (JEVTANA + prednisone compared to mitoxantrone)
               The efficacy and safety of JEVTANA in combination with prednisone were evaluated in a
               randomized, open-label, international, multi-center study in patients with metastatic castration-
               resistant prostate cancer previously treated with a docetaxel-containing treatment regimen
               (TROPIC, NCT00417079).
               A total of 755 patients were randomized to receive either JEVTANA 25 mg/m2 intravenously
               every 3 weeks for a maximum of 10 cycles with prednisone 10 mg orally daily (n=378), or to
               receive mitoxantrone 12 mg/m2 intravenously every 3 weeks for 10 cycles with prednisone 10
               mg orally daily (n=377) for a maximum of 10 cycles.
               This study included patients over 18 years of age with hormone-refractory metastatic prostate
               cancer either measurable by RECIST criteria or non-measurable disease with rising PSA levels
               or appearance of new lesions, and ECOG (Eastern Cooperative Oncology Group) performance
               status 0-2. Patients had to have neutrophils >1,500 cells/mm3, platelets >100,000 cells/mm3,
               hemoglobin >10 g/dL, creatinine <1.5 × upper limit of normal (ULN), total bilirubin <1 × ULN,
               AST <1.5 × ULN, and ALT <1.5 × ULN. Patients with a history of congestive heart failure, or
               myocardial infarction within the last 6 months, or patients with uncontrolled cardiac arrhythmias,
               angina pectoris, and/or hypertension were not included in the study.
               Demographics, including age, race, and ECOG performance status (0-2) were balanced between
               the treatment arms. The median age was 68 years (range 46-92) and the racial distribution for all
               groups was 83.9% Caucasian, 6.9% Asian, 5.3% Black, and 4% Others in the JEVTANA group.
               Efficacy results for the JEVTANA arm versus the control arm are summarized in Table 5 and
               Figure 1.

               Table 5: Efficacy of JEVTANA in TROPIC in the Treatment of Patients with Metastatic
               Castration-Resistant Prostate Cancer (intent-to-treat analysis)
                                                                JEVTANA + Prednisone              Mitoxantrone + Prednisone
                                                                      n=378                                n=377
                  Overall Survival
                  Number of deaths (%)                                 234 (61.9 %)                       279 (74.0%)
                  Median survival (month) (95% CI)                   15.1 (14.1-16.3)                    12.7 (11.6-13.7)
                  Hazard Ratio* (95% CI)                                                0.70 (0.59-0.83)
                  p-value                                                                   <0.0001
               * Hazard ratio estimated using Cox model; a hazard ratio of less than 1 favors JEVTANA.




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               Figure 1: Kaplan-Meier Overall Survival Curves (TROPIC)




               Investigator-assessed tumor response of 14.4% (95% CI: 9.6-19.3) was higher for patients in the
               JEVTANA arm compared to 4.4% (95% CI: 1.6-7.2) for patients in the mitoxantrone arm,
               p=0.0005.
               14.2     PROSELICA Trial (comparison of two doses of JEVTANA)
               In a noninferiority, multicenter, randomized, open-label study (PROSELICA, NCT01308580),
               1200 patients with metastatic castration-resistant prostate cancer, previously treated with a
               docetaxel-containing regimen, were randomized to receive either JEVTANA 25 mg/m2 (n=602)
               or 20 mg/m2 (n=598) dose. Overall survival (OS) was the major efficacy outcome.
               Demographics, including age, race, and ECOG performance status (0-2) were balanced between
               the treatment arms. The median age was 68 years (range 45-89) and the racial distribution for all
               groups was 87% Caucasian, 6.9% Asian, 2.3% Black, and 3.8% Others in the JEVTANA 20
               mg/m2 group. The median age was 69 years (range 45-88) and the racial distribution for all
               groups was 88.7% Caucasian, 6.6% Asian, 1.8% Black, and 2.8% Others in the JEVTANA 25
               mg/m2 group.
               The study demonstrated noninferiority in overall survival (OS) of JEVTANA 20 mg/m2 in
               comparison with JEVTANA 25 mg/m2 in an intent-to-treat population (see Table 6 and Figure
               2). Based on the per-protocol population, the estimated median OS was 15.1 months on
               JEVTANA 20 mg/m2 and 15.9 months on JEVTANA 25 mg/m2, the observed hazard ratio (HR)
               of OS was 1.042 (97.78% CI: 0.886, 1.224). Among the subgroup analyses intended for
               assessing the heterogeneity, no notable difference in OS was observed on the JEVTANA 25
               mg/m2 arm compared to the JEVTANA 20 mg/m2 arm in subgroups based on the stratification
               factors of ECOG performance status score, measurability of disease, or region.




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               Table 6: Overall Survival in PROSELICA for JEVTANA 20 mg/m2 versus JEVTANA
               25 mg/m2 (intent-to-treat analysis)
                                                                     CBZ20+PRED                         CBZ25+PRED
                                                                        n=598                              n=602
                   Overall Survival
                   Number of deaths, n (%)                             497 (83.1 %)                      501 (83.2%)
                   Median survival (95% CI) (months)                13.4 (12.2 to 14.9)               14.5 (13.5 to 15.3)
                   Hazard Ratio* (97.78% CI†)                      1.024 (0.886, 1.184)
               * Hazard ratio is estimated using a Cox Proportional Hazards regression model. A hazard ratio <1 indicates a lower
                 risk of death for Cabazitaxel 20 mg/m2 with respect to 25 mg/m2.
               †
                 Adjusted for interim OS analyses. The noninferiority margin is 1.214.
               CBZ20=Cabazitaxel 20 mg/m2, CBZ25=Cabazitaxel 25 mg/m2, PRED=Prednisone/Prednisolone.
               CI=confidence interval.

               Figure 2: Kaplan-Meier Overall Survival Curves (intent-to-treat population)
               (PROSELICA)




               15       REFERENCES
               1. OSHA Hazardous Drugs. OSHA. http://www.osha.gov/SLTC/hazardousdrugs/index.html

               16       HOW SUPPLIED/STORAGE AND HANDLING
               16.1     How Supplied
               JEVTANA is supplied as a kit consisting of the following:
                    •   One single-dose vial of JEVTANA (cabazitaxel) injection: a clear yellow to brownish-




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                        yellow viscous solution of 60 mg/1.5 mL in a clear glass vial with a grey rubber closure,
                        aluminum cap, and light green plastic flip-off cap
                    •   One single-dose vial of Diluent for JEVTANA: a clear colorless solution of 13% (w/w)
                        ethanol in water for injection in a clear glass vial with a grey rubber closure, gold-color
                        aluminum cap, and colorless plastic flip-off cap.
               Both items are in a blister pack in one carton.
               NDC 0024-5824-11
               16.2     Storage
               JEVTANA injection and Diluent for JEVTANA:
               Store at 25°C (77°F); excursions permitted between 15°-30°C (59°-86°F).
               Do not refrigerate.
               16.3     Handling and Disposal
               JEVTANA is a cytotoxic anticancer drug. Follow applicable special handling and disposable
               procedures [see References (15)].

               17       PATIENT COUNSELING INFORMATION
               Advise the patient to read the FDA-approved patient labeling (Patient Information).
               Hypersensitivity Reactions
               Educate patients about the risk of potential hypersensitivity associated with JEVTANA. Confirm
               patients do not have a history of severe hypersensitivity reactions to cabazitaxel or to other drugs
               formulated with polysorbate 80. Instruct patients to immediately report signs of a
               hypersensitivity reaction [see Contraindications (4) and Warnings and Precautions (5.3)].
               Bone Marrow Suppression
               Inform patients that JEVTANA decreases blood count such as white blood cells, platelets and red
               blood cells. Thus, it is important that periodic assessment of their blood count be performed to
               detect the development of neutropenia, thrombocytopenia, anemia, and/or pancytopenia [see
               Contraindications (4) and Warnings and Precautions (5.1)]. Instruct patients to monitor their
               temperature frequently and immediately report any occurrence of fever to their healthcare
               provider.
               Increased Toxicities in Elderly Patients
               Inform elderly patients that certain side effects may be more frequent or severe [see Warnings
               and Precautions (5.2) and Use in Specific Populations (8.5)].
               Importance of Prednisone
               Explain that it is important to take the oral prednisone as prescribed. Instruct patients to report if
               they were not compliant with oral corticosteroid regimen [see Dosage and Administration (2.1)].
               Infections, Dehydration, Renal Failure
               Explain to patients that severe and fatal infections, dehydration, and renal failure have been
               associated with cabazitaxel exposure. Patients should immediately report fever, significant




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               vomiting or diarrhea, decreased urinary output, and hematuria to their healthcare provider [see
               Warnings and Precautions (5.1, 5.4, 5.5)].
               Urinary Disorders Including Cystitis
               Inform patients that hematuria may occur during treatment with JEVTANA. Inform patients that
               previously received pelvic radiation that cystitis and radiation cystitis may occur during
               treatment with JEVTANA. Advise patients to report any occurrence of hematuria, or any signs
               and symptoms of cystitis or radiation cystitis, to their healthcare provider [see Warnings and
               Precautions (5.6)].
               Respiratory Disorders
               Explain to patients that severe and fatal interstitial pneumonia/pneumonitis, interstitial lung
               disease and acute respiratory distress syndrome have occurred with JEVTANA. Instruct patients
               to immediately report new or worsening pulmonary symptoms to their healthcare provider [see
               Warnings and Precautions (5.7)].
               Drug Interactions
               Inform patients about the risk of drug interactions and the importance of providing a list of
               prescription and non-prescription drugs to their healthcare provider [see Drug Interactions
               (7.1)].
               Embryo-Fetal Toxicity
               Advise male patients with female partners of reproductive potential to use effective contraception
               during treatment and for 3 months after the last dose of JEVTANA [see Use in Specific
               Populations (8.3)].
               Infertility
               Advise male patients that JEVTANA may impair fertility [see Use in Specific Populations
               (8.3)].



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               Bridgewater, NJ 08807
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                                                       Patient Information
                                                     JEVTANA® (JEV-ta-na)
                                                          (cabazitaxel)
                                                            Injection
         What is the most important information I should know about JEVTANA?
         JEVTANA may cause serious side effects including:
         •   Low white blood cells. Low white blood cells can cause you to get serious infections, and may lead to death. Men
             who are 65 years or older may be more likely to have these problems. Your healthcare provider:
             o will do blood tests regularly to check your white blood cell counts during your treatment with JEVTANA.
             o may lower your dose of JEVTANA, change how often you receive it, or stop JEVTANA until your healthcare
                 provider decides that you have enough white blood cells.
             o may prescribe a medicine for you called G-CSF, to help prevent complications if your white blood cell count is
                 too low.
             Tell your healthcare provider right away if you have any of these symptoms of infection during treatment
             with JEVTANA:
                 o fever. Take your temperature often during treatment with JEVTANA.
                 o cough
                 o burning on urination
                 o muscle aches
             Also, tell your healthcare provider if you have any diarrhea during the time that your white blood cell count is low.
             Your healthcare provider may prescribe treatment for you as needed.
         •   Severe allergic reactions. Severe allergic reactions can happen within a few minutes after your infusion of
             JEVTANA starts, especially during the first and second infusions. Your healthcare provider should prescribe
             medicines before each infusion to help prevent severe allergic reactions.
             Tell your healthcare provider or nurse right away if you have any of these symptoms of a severe allergic
             reaction during or soon after an infusion of JEVTANA:
              o   rash or itching                o   skin redness
              o   feeling dizzy or faint         o   breathing problems
              o   chest or throat tightness      o   swelling of your face
         •   Severe stomach and intestine (gastrointestinal) problems.
             o JEVTANA can cause severe vomiting and diarrhea, which may lead to death. Severe vomiting and diarrhea
                with JEVTANA can lead to loss of too much body fluid (dehydration), or too much of your body salts
                (electrolytes). Death has happened from having severe diarrhea and losing too much body fluid or body salts
                with JEVTANA. You may need to go to a hospital for treatment. Your healthcare provider will prescribe
                medicines to prevent or treat vomiting and diarrhea, as needed, with JEVTANA.
                Tell your healthcare provider right away if you develop vomiting or diarrhea or if your symptoms get worse or do
                not get better.
             o JEVTANA can cause a leak in the stomach or intestine, intestinal blockage, infection, and bleeding in the
                stomach or intestine, which may lead to death.
                Tell your healthcare provider if you develop any of these symptoms:
                  severe stomach-area (abdomen) pain
                  constipation
                  fever
                  blood in your stool, or changes in the color of your stool
         •   Kidney failure. Kidney failure may happen with JEVTANA, because of severe infection, loss of too much body fluid
             (dehydration), and other reasons, which may lead to death. Your healthcare provider will check you for this problem
             and treat you if needed.
             Tell your healthcare provider if you develop these signs or symptoms:
             o swelling of your face or body




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             o    decrease in the amount of urine that your body makes each day
             o    blood in your urine
         •   Lung or breathing problems. Lung or breathing problems may happen with JEVTANA and may lead to death. Men
              who have lung disease before receiving JEVTANA may have a higher risk for developing lung or breathing problems
              with JEVTANA treatment. Your healthcare provider will check you for this problem and treat you if needed.
         Tell your healthcare provider right away if you develop any new or worsening symptoms, including trouble breathing,
         shortness of breath, chest pain, cough or fever.
         What is JEVTANA?
         JEVTANA is a prescription medicine used with the steroid medicine prednisone. JEVTANA is used to treat men with
         castration-resistant prostate cancer (prostate cancer that is resistant to medical or surgical treatments that lower
         testosterone) that has spread to other parts of the body, and that has worsened (progressed) after treatment with other
         medicines that included docetaxel.
         It is not known if JEVTANA is safe and effective in children.
         Who should not receive JEVTANA?
         Do not receive JEVTANA if:
         • your white blood cell (neutrophil count) is too low
         • you have had a severe allergic reaction to cabazitaxel or other medicines that contain polysorbate 80. Ask your
               healthcare provider if you are not sure.
         • you have severe liver problems
         Before receiving JEVTANA, tell your healthcare provider about all your medical conditions, including if you:
         •    are over the age of 65
         •    had allergic reactions in the past
         •    have kidney or liver problems
         •    have lung problems
         •    are pregnant or plan to become pregnant. JEVTANA can cause harm to your unborn baby and loss of pregnancy
              (miscarriage).
         •   are a male with a female partner who is able to become pregnant. Males should use effective birth control
             (contraception) during treatment with JEVTANA and for 3 months after the last dose of JEVTANA.
         Tell your healthcare provider about all the medicines you take, including prescription and over-the-counter
         medicines, vitamins, and herbal supplements.
         JEVTANA can interact with many other medicines. Do not take any new medicines without asking your healthcare
         provider first. Your healthcare provider will tell you if it is safe to take the new medicine with JEVTANA.
         How will I receive JEVTANA?
         • JEVTANA will be given to you by an intravenous (IV) infusion into your vein.
         • Your treatment will take about 1 hour.
         • JEVTANA is usually given every 3 weeks. Your healthcare provider will decide how often you will receive JEVTANA.
         • Your healthcare provider will also prescribe another medicine called prednisone for you to take by mouth every day
            during treatment with JEVTANA.
         • Your healthcare provider will tell you how and when to take your prednisone.
         • It is important that you take prednisone exactly as prescribed by your healthcare provider. If you forget to take your
            prednisone, or do not take it on schedule, make sure to tell your healthcare provider or nurse.
         • Before each infusion of JEVTANA, you may receive other medicines to prevent or treat side effects.
         What are the possible side effects of JEVTANA?
         JEVTANA may cause serious side effects including:
         • See "What is the most important information I should know about JEVTANA?"
         •   Inflammation of the bladder and blood in the urine. Blood in the urine is common with JEVTANA, but it can also
             sometimes be severe. Some people who have had pelvic radiation in the past may develop inflammation of the
             bladder and blood in the urine that is severe enough that they need to be hospitalized for medical treatment or
             surgery. Your healthcare provider will check you for these problems during treatment with JEVTANA. Your




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            healthcare provider may stop your treatment with JEVTANA for a short time, or permanently, if you develop
            inflammation of the bladder and bleeding that is severe.
         The most common side effects of JEVTANA include:
         • Low red blood cell count (anemia). Low red blood cell count is common with JEVTANA, but can sometimes also be
            serious. Your healthcare provider will regularly check your red blood cell count. Symptoms of anemia include
            shortness of breath and tiredness.
         • Low blood platelet count. Low platelet count is common with JEVTANA, but can sometimes also be serious. Tell your
            healthcare provider if you have any unusual bruising or bleeding.

               •    diarrhea                                                                   •      stomach (abdominal) pain
               •    tiredness                                                                  •      back pain
               •    nausea                                                                     •      decreased appetite
               •    vomiting                                                                   •      shortness of breath
               •    constipation                                                               •      hair loss
               •    weakness                                                                   •      cough
         JEVTANA may cause fertility problems in males. This may affect your ability to father a child. Talk to your healthcare
         provider if you have concerns about fertility.
         Tell your healthcare provider if you have any side effect that bothers you or that does not go away.
         These are not all the possible side effects of JEVTANA. For more information, ask your healthcare provider or
         pharmacist.
         Call your doctor for medical advice about side effects. You may report side effects to FDA at 1-800-FDA-1088.
         General information about the safe and effective use of JEVTANA
         Medicines are sometimes prescribed for purposes other than those listed in a Patient Information leaflet. You can ask
         your pharmacist or healthcare provider for information about JEVTANA that is written for health professionals.
         What are the ingredients in JEVTANA?
         Active ingredient: cabazitaxel
         Inactive ingredient: polysorbate 80
         Manufactured by: sanofi-aventis U.S. LLC, Bridgewater, NJ 08807 A SANOFI COMPANY
         JEVTANA is a registered trademark of sanofi-aventis ©20xx sanofi-aventis U.S. LLC
         For more information, go to www.sanofi-aventis.us or call 1-800-633-1610.
                This Patient Information has been approved by the U.S. Food and Drug Administration                              Revised: March 2020




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